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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,
                                                    Case No. 4:11-cr-00298-BLW-7
                     Plaintiff,
                                                    REPORT AND
        v.                                          RECOMMENDATION

 MARILYN LEONES,

                     Defendant.



       On December 18, 2012, Defendant Marilyn Leones appeared before the

undersigned United States Magistrate Judge to enter a change of plea pursuant to a

written plea agreement. The Defendant executed a written waiver of the right to have the

presiding United States District Judge take her change of plea. Thereafter, the Court

explained to the Defendant the nature of the charges contained in the Superseding

Indictment (Dkt. 36), the maximum penalties applicable, her constitutional rights, the

impact that the Sentencing Guidelines will have, and that the District Judge will not be

bound by the agreement of the parties as to the penalty to be imposed.

       The Court, having conducted the change of plea hearing and having inquired of the

Defendant, her counsel, and the government, finds that there is a factual basis for the

Defendant’s guilty plea, that she entered it voluntarily and with full knowledge of the

consequences, and that the plea should be accepted.
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                                    RECOMMENDATION

       Based upon the foregoing, the Court being otherwise fully advised in the premises,

the Court hereby RECOMMENDS that:

       1)      The District Court accept Defendant Marilyn Leones’s plea of guilty to

Count Two of the Superseding Indictment (Dkt. 36), and that a pre-sentence report be

ordered.

       2)      The District Court GRANT, at the appropriate time, the United States’

motion to dismiss Count One of the Superseding Indictment (Dkt. 36) as to Defendant.

       Written objections to this Report and Recommendation must be filed within

fourteen (14) days pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a

result of failing to do so, that party may waive the right to raise factual and/or legal

objections to the United States Court of Appeals for the Ninth Circuit.




                                                     DATED: December 18, 2012.




                                                     Honorable Larry M. Boyle
                                                     United States Magistrate Judge
